   1   Allan D. NewDelman, Esq. (004066)
       Roberta J. Sunkin, Esq. (011993)
   2   ALLAN D. NEWDELMAN, P.C.
       80 East Columbus Avenue
   3   Phoenix, AZ 85012
       (602) 264-4550
   4   anewdelman@adnlaw.net
       Attorney for Debtor
   5
                       IN THE UNITED STATES BANKRUPTCY COURT
   6
                            FOR THE DISTRICT OF ARIZONA
   7
       In re                                    In Proceedings Under
   8                                            Chapter Seven
   9   JOSEPH A. DAVID and CHRISTINE M.         CASE NO. 2-16-bk-02416 MCW
       DAVID,
 10                                             AMENDED SCHEDULE A/B
 11                          Debtors.
  12
               Debtors, JOSEPH and CHRISTINE DAVID, by undersigned counsel
  13
       and pursuant to Bankruptcy Rule 1009(a), hereby file an Amended
 14
       Schedule A/B as attached.
 15

  16
                             "'
               DATED this ~day of CO!ob~         ,   2018.

                                               ALLAN D. NEWDELMAN, P.C.
  17
  18
  19                                           Roberta J. Sunkin, Esq.
                                               Attorney for Debtors
 20

 21

 22
 23
 24
 25
 26

 27

 28



Case 2:16-bk-02416-MCW    Doc 38 Filed 10/26/18 Entered 10/26/18 09:15:42   Desc
                          Main Document    Page 1 of 8
F11i 1n th1s •nformallon to 1dent;fy your case and th1s fllmg

Debtor 1                   JOSEPH A DAVID
                           First Name                                  Middle Nama                        LBstName
Debtor 2                   CHRISTINE M DAVID
(Spouse, Hfiling)          First Name                                  Middle Name                        LBstName

United States Bankruptcy Court for the:                      DISTRICT OF ARIZONA
                                                            -----------------------------------------
Case number           2-1&.bk·02416 MCW                                                                                                                           •      Check if this is an
                                                                                                                                                                         amended filing



Official Form 106NB
Schedule AlB: Property                                                                                                                                                   1211s
In each category, separately list and describe Items. Ust an asset only once. If an asset fits In more than one category, list the asset In the category where you
think It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (If known).
Answer every question.

           Describe Each Residence, BuDding, Land, or Other Real Estate You Own or Have an lntereet In

1. Do you own or have any legal or equitable interest In any residence, building, land, or similar property?

   D No. Go to Part 2.
   • Yes. Where is the property?




 1.1                                                                           What Is the property? Check all that apply
       GRAND PACIFIC TIMESHARE                                                       0    Single-family home                             d~uct S&Qlilred. ctarms or exemptions. Put
       Street address, if available, or other description                                                                                    · of any ~~~'~CUred claims on Se<hedule D;
                                                                                     O    Duplex or multi-unit building
                                                                                                                                           , Who H<ttlfl;!fJktlms Secured by PJ:opetty.
                                                                                     0    Condominium or cooperative                                        /~<

                                                                                     0    Manufactured or mobile home
                                                                                                                                   Current value of the               Current value of the
                                                                                     0    Land                                     entire property?                   portion you own?
       City                             State               ZIP Code                 0    Investment property                                $1,000.00                           $1,000.00
                                                                                     0    Timeshare
                                                                                                                                   Describe the nature of your ownerehip Interest
                                                                                     •    Other     TIMESHARE                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an Interest In the property? Check one      a life estate), If known.
                                                                                     0    Debtor 1 only                            FEE SIMPLE
                                                                                     D    Debtor 2 only
       County                                                                        •    Debtor 1 and Debtor 2 only
                                                                                                                                   •   Check if this Is community property
                                                                                     D    Alleast one of the debtors and another       (see instructions)
                                                                               Other Information you wish to add about this Item, such as local
                                                                               property Identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                                   $1,000.00



Do you own, lease, or have legal or equitable interest In any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 1OSNB                                                                      Schedule NB: Property                                                                            page 1
Software Copyright (c) 1996-2018 Best case. LLC- www.beslcase.com                                                                                                            Best   case Bankruptcy

                Case 2:16-bk-02416-MCW                                          Doc 38 Filed 10/26/18 Entered 10/26/18 09:15:42                                                       Desc
                                                                                Main Document    Page 2 of 8
Debtor 1        JOSEPH A DAVID
Debtor2         CHRISTINE M DAVID                                                                                    Case number (if known)           2-16-bk-02416 MCW

3. Cars, vans, trucks, tractors, sport utility vehicles, motorc;ycles

  Cl No
  •Yes


 3.1    Make:      FORD                                       Who has an interest in the property?       Check one
                                                                                                                                        9eavct$EIC{Ired Clalmsor exemptions. Put
        Model:
                   -----==-------------
                    F150 TRUCK                                0      Debtor 1 only
                                                                                                                                            nt of 81\y~e'Cuted Claims on Sc.hedute D:
                                                                                                                                       "... ,WIWHavt: .Q/alms Secured by Propsrty.
        Year:      2010                                       0      Debtor 2 only
                                                                                                                                                               Current value of the
                   ~~--------~~~                                                                                              Current value of the
        Approximate mileage:                          87439   •      Debtor 1 and Debtor 2 only                               entire property?                 portion you own?
        Other Information:                                    0      At least one of the debtors and another


                                                              •      Check If this Is community property                                   $16,966.00                       $16,966.00
                                                                     (see instructions)

                                                                                                                               '-""~    "'~-           -~




  3.2   Make:      FORD                                       Who has an interest in the property? Check one                            "~ctS1lcu«id claims or exemptions. Put
                   ~~~~----------
                                                                                                                                            'Of anysw;;ured claims on $thedule 0:
        Model:     E250VAN                                    0      Debtor 1 only                                                       " Whq H_~Ve'O/<ifms Secured bY Ptopetty.
        Year:      2004                                       0      Debtor 2 only
                   ~~--------------                                                                                           Current value of the             Current value of the
        Approximate mileage:                                  •      Debtor 1 and Debtor 2 only                               entire property?                 portion you own?
        Other information:                                    0      At least one of the debtors and another


                                                              •      Check if this is community property                                       $2,000.00                      $2,000.00
                                                                     (see insttuclions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

  •No
  DYes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here .............................................................................=>                         $18,966.00



                                                                                                                                                              Current value of the
                                                                                                                                                            · portion you own?
                                                                                                                                                              Do not deduct secured
   .         -~~       ~~ ~=!1-I;,~_-'--~~'..=-, -----~-                                                                                                     claims   0~   exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   ONo
    • Yes. Describe.....

                                        KITCHEN TABLE, 6 KITCHEN CHAIRS, LYING ROOM COUCH,
                                        LIVING ROOM CHAIR, LIVING ROOM END TABLE, LIVING ROOM
                                        COFFEE TABLE, 5 BEDS, 4 DRESSERS, 5 NIGHT STANDS,
                                        REFRIGERATOR, STOVE, WASHER, DRYER VACUUM CLEANER,
                                        FREEZER, DVD PLAYER, MICROWAVE OVEN, MISCELLANEOUS
                                        FRAMED PICTURES, MISCELLANEOUS KITCHENWARES,
                                        MISCELLANEOUS HOUSEHOLD TOOLS (WRENCH,
                                        SCREWDRIVER, GAGES, POWER DRILL, SMALL
                                        AIRCOMPRESSOR, HAMMER NUT DRIVERS)                                                                                                      $3,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    •No
    0 Yes. Describe.....
Official Form 106NB                                                         Schedule NB: Property                                                                                     page2
Software Copyright (c) 1996-2018 Best Case. LLC • www.bestcase.com                                                                                                         Best Case Bankruptcy



            Case 2:16-bk-02416-MCW                                     Doc 38 Filed 10/26/18 Entered 10/26/18 09:15:42                                                           Desc
                                                                       Main Document    Page 3 of 8
Debtor 1        JOSEPH A DAVID
Debtor2         CHRISTINE M DAVID                                                                                           Case number (If known)   2-16-bk-G2416 MCW


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                  other collections, memorabilia, collectibles
   •No
   0    Yes. Describe .....

9. Equipment for sports and hobbles
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                  musical instruments
   DNo
   • Yes. Describe .....

                                     I2BICYCLES                                                                                                                         $100.00


10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   •No
   0    Yes. Describe .....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   DNo
   • Yes. Describe .....

                                     I MISCELLANEOUS MEN'S APPAREL                                                                                                      $500.00


                                     I MISCELLANEOUS WOMEN'S APPAREL                                                                                                    $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
   DNa
   • Yes. Describe.....

                                     I WEDDING RINGS                                                                                                                    $500.00


                                     IMISCELLANEOUS COSTUME JEWELRY                                                                                                       $40.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   DNa
    • Yes. Describe.....

                                     I DOG                                                                                                                              $100.00


14. Any other personal and household items you did not already list, including any health aids you did not list
   ONo
    • Yes. Give specific information .....

                                     IMISCELLANEOUS BOOKS                                                                                                                 $50.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here ..............................................................................                                      $5,290.00



Official Form 106A/B                                                           Schedule A/8: Property                                                                       page3
Software Copyright (c) 1996-2018 Best   case. LLC- www.bestcase.com                                                                                            Best   case Bankruptcy

              Case 2:16-bk-02416-MCW                                      Doc 38 Filed 10/26/18 Entered 10/26/18 09:15:42                                              Desc
                                                                          Main Document    Page 4 of 8
Debtor 1         JOSEPH A DAVID
Debtor2          CHRISTINE M DAVID                                                                                        Case number (If known)    2-16-bk-02416 MCW



                                                                                                                                                        portion you own?
                                                                                                                                                   .-"'    Oo not dedl.let secured
                                                                                                                                                   ,::_. , Claims or ~~mptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   •No
   DYes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   DNo
                                                                                               Institution name:
   •Yes ....................... .

                                                        CHECKING ACCT
                                            17.1.       ENDING 2277                            BANK OF AMERICA                                                            $600.00


1B. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   •No
   0 Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an Interest in an LLC, partnership, and
    joint venture
   ONo
   • Yes. Give specific information about them .................. .
                                Name of entity:                                                                            % of ownership:

                                                91ST AV PROPERTY, LLC (NO ASSETS- NEVER
                                                OPERATED)                                                                      100%          %                               $0.00


                                                ALL STAR REFRIGERATION, LLC (NO ASSETS
                                                ON PETITION DATE)                                                              100%          %                               $0.00


                                                ANDREW'S GAS & FOOD MART, LLC (NO
                                                ASSETS -MUCH DEBTI                                                             100%          %                               $0.00


                                                ANDREW'S GAS & FOOD MART II, LLC (NO
                                                ASSETS- MUCH DEBTI                                                             100%          %                               $0.00


                                                EL MIRAGE MARKET PLACE, LLC (NO ASSETS)                                        100%          %                               $0.00

20. Government and corporate bonds and other negotiable and non-negotiable Instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   •No
   0   Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   DNo
   • Yes. Ust each account separately.
                            Type of account:                                                   Institution name:


Official Form 106NB                                                                     Schedule AJB: Property                                                                page4
Software Copyright (c) 1996-2018 Best Case, LLC- www.bestcase.com                                                                                                  Best Case Bankruptcy



              Case 2:16-bk-02416-MCW                                               Doc 38 Filed 10/26/18 Entered 10/26/18 09:15:42                                       Desc
                                                                                   Main Document    Page 5 of 8
Debtor 1       JOSEPH A DAVID
Debtor2        CHRISTINE M DAVID                                                                              Case number (dknown)              2-16-bk-02416 MCW


                                              PENSION PLAN                  TCF                                                                                    $8,041.65


                                              401(1<) PLAN                  MARRIOTT VACATIONS WORLDWIDE
                                                                            ADMINISTERED BY HEWITT ASSOCIATES                                                    $20,138.40


22. Security deposits and prepayments
    Your share of an unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   •No
   D Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   •No
   DYes............ .                Issuer name and description.

24. Interests In an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 u.s.c. §§ 530(b)(1), 529A{b), and 529{b)(1).
   •No
   DYes ........... ..               Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c):

25. Trusts, equitable or future interests in property (other than anything listed In line 1), and rights or powers exercisable for your benefit
   •No
   D Yes. Give specific information about them ...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, website&, proceeds from royalties and licensing agreements
   •No
   D Yes. Give specific information about them ...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   •No
   DYes. Give specific information about them ...

               "••pe...   'jlYGU? .                                                                                                    ~
                                                                                                                                           .,       . Current value: of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                              i;'!:.,_U.-.'                                                                                                     '    claims or e~ell)ptions.
28. Tax refunds owed to you
   •No
   D Yes. Give specific information about them, including whether you already filed the returns and the tax years .......


29. Family support
     Examples: Past due or lump sum alimony, spousal suppon, child suppon, maintenance, divorce settlement, propeny settlement
   •No
   D Yes. Give specific information ......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
              benefits; unpaid loans you made to someone else
    •No
   D Yes.     Give specific information ..

31. Interests in insurance policies
     Examples: HeaHh, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   DNo
    • Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                          Beneficiary:                                    Surrender or refund
Official Form 106NB                                                     Schedule NB: Propeny                                                                              pages
Software Copyright (c) I 996-2018 Best Case, LLC - www.bestcase.ccm                                                                                            Best Case Bankruptcy



             Case 2:16-bk-02416-MCW                                   Doc 38 Filed 10/26/18 Entered 10/26/18 09:15:42                                                Desc
                                                                      Main Document    Page 6 of 8
Debtor 1            JOSEPH A DAVID
Debtor 2            CHRISTINE M DAVID                                                                                              Case number (If known)         2-16-bk-()2416 MCW

                                                                                                                                                                     value:

                                              VARIABLE UNIVERSAL LIFE
                                              INSURANCE POLICY ISSUED BY
                                              FARMERS
                                              DATE ISSUED: 12/01/2007                                                                                                             $2,500.00


32. Any interest in property that is due you from someone who has died
          H you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
          someone has died.
       •No
       0   Yes. Give specific information ..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       •No
       0   Yes. Describe each claim ........ .

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       •No
       0    Yes. Describe each claim ........ .

35. Any financial assets you did not already list
       •No
       0    Yes. Give specific information ..


    36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
        for Part 4. Write that number here.....................................................................................................................               $31,280.05




37. Do you own or have any legal or equitable Interest In any business-related property?
      • No. Go to Part 6.
      0    Yes. Go to line 38.



               Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest ln.
               If you own or have an Interest in farmland, list It in Part 1.


46. Do you own or have any legal or equitable Interest in any farm- or commercial fishing-related property?
           • No. Go to Part 7.
           0   Yes. Go to line 47.


-                    Describe All Property You Own or Have an Interest In That You Old Not Ust Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       •No
       0    Yes. Give specific information........ .


    54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00




Official Form 106NB                                                               Schedule NB: Property                                                                                  pageS
Software Copyright (c) 1996-2018 Best Case, LLC • www.bestl:ase.com                                                                                                           Best Case Bankruptcy




                  Case 2:16-bk-02416-MCW                                     Doc 38 Filed 10/26/18 Entered 10/26/18 09:15:42                                                       Desc
                                                                             Main Document    Page 7 of 8
    Debtor 1        JOSEPH A DAVID
    Debtor2         CHRISTINE M DAVID                                                                                                      Case number (if known)   2-16-bk-02416 MCW

-                  Ust the Totals of Each Part of this Form


    55. Part 1: Total real estate, line 2 ································································-······· .. ····•····••••••··••••·•••···••••··•••••••••               $1,000.00
    56. Part 2: Total vehicles, line 5                                                                    $18,966.00
    57. Part 3: Total personal and household items, line 15                                                        $5,290.00
    58. Part 4: Total financial assets, line 36                                                                  $31,280.05
    59. Part 5: Total business-related property, line 45                                                                  $0.00
    60. Part&: Total farm- and fishing-related property, line 52                                                          $0.00
    61. Part 7: Total other property not listed, line 54                                             +                    $0.00

    62. Total personal property. Add lines 56 through 61 ...                                                     $55,536.05              Copy personal property total          $55,536.05

    63. Total of all property on Schedule AJB. Add line 55 + line 62                                                                                                        $56,536.05




    Official Form 106NB                                                                Schedule NB: Property                                                                            page7
    Software Copyright (c) 199&-2018 Best Case, LLC • www.bestcase.com                                                                                                       Best Case Bankruptcy



                  Case 2:16-bk-02416-MCW                                          Doc 38 Filed 10/26/18 Entered 10/26/18 09:15:42                                                  Desc
                                                                                  Main Document    Page 8 of 8
